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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

LINDA JANN LEWIS; MADISON LEE;
ELLEN SWEETS; BENNY ALEXANDER;
GEORGE MORGAN, VOTO LATINO,
TEXAS STATE CONFERENCE OF THE
NATIONAL ASSOCIATION FOR THE
ADVANCEMENT OF COLORED PEOPLE;                            CIVIL ACTION NO. 5:20-cv-00577-OLG
and TEXAS ALLIANCE OF RETIRED
AMERICANS,

        Plaintiffs,

v.

RUTH HUGHS, in her official capacity as
the Texas Secretary of State,

        Defendant.


                THE TEXAS SECRETARY OF STATE’S NOTICE OF APPEAL

        Pursuant to Federal Rules of Appellate Procedure 3(a)(1) and 4(a)(1)(A), Defendant Ruth

Hughs, in her official capacity as the Texas Secretary of State, gives this notice of appeal to the United

States Court of Appeals for the Fifth Circuit from the Order entered in this action on July 28, 2020.

[ECF No. 31] The Secretary moved to dismiss all claims based on sovereign immunity. The order

denying the Secretary’s motion to dismiss is therefore immediately appealable under the collateral-

order doctrine. See Puerto Rico Aqueduct & Sewer Auth. v. Metcalf & Eddy, Inc., 506 U.S. 139, 141 (1993);

City of Austin v. Paxton, 943 F.3d 993, 996 (5th Cir. 2019). Because the Secretary asserted sovereign

immunity against all claims asserted by the plaintiffs, this notice of appeal divests this Court of

jurisdiction during the pendency of the appeal. “[N]otice of interlocutory appeal following a district

court’s denial of a defendant’s immunity defense divests the district court of jurisdiction to proceed

against that defendant.” Williams v. Brooks, 996 F.2d 728, 729 (5th Cir. 1993) (per curiam); see also Wooten




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v. Roach, 964 F.3d 395, 412 (5th Cir. 2020). Based on the foregoing Fifth Circuit precedent, proceedings

in this Court, including all discovery matters, are suspended pending resolution of the appeal.

Date: August 7, 2020                                   Respectfully submitted.

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                                                       COUNSEL    FOR   THE TEXAS SECRETARY         OF
                                                       STATE


                                     CERTIFICATE OF SERVICE

     I certify that a true and accurate copy of the foregoing document was filed electronically (via
CM/ECF) on August 7, 2020, and that all counsel of record were served by CM/ECF.

                                               /s/Patrick K. Sweeten
                                               PATRICK K. SWEETEN




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